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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   ELANA S. LANDAU, Ca. Bar #212144
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
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 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO.    1:09-CR-299 LJO
                                           )
12                      Plaintiff,         )   STIPULATION TO CONTINUE
                                           )   SENTENCING DATE AND
13   v.                                    )   ORDER
                                           )
14                                         )
                                           )
15   CESAR LOPEZ                           )
                                           )
16                      Defendant.         )
17
18        The parties request that the sentencing hearing in this case be
19   continued from March 11, 2011 to April 1, 2011 at 9:00a.m..           The
20   parties request the continuance be granted because there are matters
21   related to sentencing that remain unresolved.        The Speedy Trial Act
22   is not implicated since the defendant has already pled guilty and is
23   awaiting sentencing.
24
25                                          Respectfully Submitted,
26                                          BENJAMIN B. WAGNER
                                            United States Attorney
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 1
 2   DATE: March 10, 2011             By:    /s/Elana S. Landau
                                            ELANA S. LANDAU
 3                                          Assistant U.S. Attorney
 4
 5   DATE: March 10, 2011                    /s/Mario Disalvo
                                            MARIO DISALVO
 6                                          Attorney for Defendant Cesar Lopez
 7
 8   SO ORDERED.
 9
     DATE: March 10, 2011                   /s/ Lawrence J. O’Neill
10                                          ______________________________
                                            HON. LAWRENCE J. O'NEILL
11                                          U.S. District Judge
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